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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   TAJANAE ANDERSON, on behalf of herself                 :
   and others similarly situated,                         :
                                  Plaintiff,              :      2:20-cv-03014-RAL
                       v.                                 :
                                                          :
   LIBERTY HEALTHCARE CORPORATION                         :
   and SARGENT’S PERSONNEL AGENCY,                        :
   INC.                                                   :
                                                          :
   CRISTINE WILLIAMS, on behalf of herself and            :
                                                          :
   others similarly situated,                             :      2:21-cv-00691-RAL
                              Plaintiff,                  :
                        v.                                :
                                                          :
   LIBERTY HEALTHCARE CORPORATION                         :
   and ADVANCE SOURCING CONCEPTS LLC                      :
                                                          :

                     SUPPLEMENT TO PLAINTIFF’S UNOPPOSED
                    MOTION FOR APPROVAL OF THE SETTLEMENT

       At page 10 of plaintiffs’ memorandum of law seeking approval of the instant settlement, I

stated that release forms had been sent to the plaintiffs and that I expected “all or almost all” of

the plaintiffs to sign the forms. In this regard, I attach executed release forms from 48 of the 50

plaintiffs. My firm is awaiting forms from plaintiffs Elizabeth Hoherchak (who is in the process

of returning the forms by mail) and Kristi Anderson (who we have not been able to reach to

date). Plaintiffs submit that these completed release forms confirm that the collective is pleased

with the settlement.

 Date: November 11, 2021                                  Respectfully,



                                                          _________________________
                                                          Peter Winebrake
                                                          WINEBRAKE & SANTILLO, LLC
                                                          715 Twining Road, Suite 211
                                                          Dresher, PA 19025
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